Case 19-03137-hb        Doc 11      Filed 06/28/19 Entered 06/28/19 22:33:20              Desc Main
                                    Document      Page 1 of 29


                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF SOUTH CAROLINA


  IN RE:                                 )
  JEFF MILLS & CO., LLC                  )                 CASE NO.        19-03137-hb
                                         )                 CHAPTER         7
        DEBTOR                           )
  _______________________________________)


                    NOTICE OF FILING OF SCHEDULES AND STATEMENTS,
                    VERIFICATION OF COMPARISON WITH MAILING MATRIX
                              AND DECLARATION OF DEBTOR

          The debtor hereby gives notice of the filing of the following Schedules and Statements:

  Summary of Schedules
  Schedule A/B
  Schedule D
  Schedule E/F
  Schedule G
  Schedule H
  Statement of Financial Affairs

          The debtor’s declaration concerning the schedules appears on Form 202. The remaining
  declaration appears with each statement.

          The undersigned hereby verifies that the creditors listed in the attached schedules and
  statements and those listed on the mailing matrix filed with the petition for relief have been
  compared and are identical.

          Respectfully submitted.


  Date: 06/28/19                                  /s/ Joseph E. Mitchell, III
                                                  __________________________________
                                                  Joseph E. Mitchell, III
                                                  Attorney For Debtor
                                                  JOSEPH E. MITCHELL, III, P.C.
                                                  Post Office Box 2504
                                                  Augusta, Georgia 30903
                                                  (706) 826-1808
                                                  District Court ID No.      6115
            Case 19-03137-hb                        Doc 11            Filed 06/28/19 Entered 06/28/19 22:33:20                  Desc Main
                                                                      Document      Page 2 of 29




 Fill in this information to identify the case:

 Debtor name         Jeff Mills & Co., LLC

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)         19-03137
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 28, 2019                           X /s/ Jeanna M. Mills
                                                                       Signature of individual signing on behalf of debtor

                                                                       Jeanna M. Mills
                                                                       Printed name

                                                                       Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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              Case 19-03137-hb                                Doc 11                Filed 06/28/19 Entered 06/28/19 22:33:20                                                           Desc Main
                                                                                    Document      Page 3 of 29
 Fill in this information to identify the case:

 Debtor name            Jeff Mills & Co., LLC

 United States Bankruptcy Court for the:                       DISTRICT OF SOUTH CAROLINA

 Case number (if known)               19-03137
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            51,769.71

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            51,769.71


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            68,745.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,157,565.89


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,226,310.89




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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            Case 19-03137-hb                        Doc 11           Filed 06/28/19 Entered 06/28/19 22:33:20                          Desc Main
                                                                     Document      Page 4 of 29
 Fill in this information to identify the case:

 Debtor name         Jeff Mills & Co., LLC

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)         19-03137
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    Business Checking 4710 $24.64
           3.1.                       7006 $40.07                           checking                                                                     $64.71



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                          $64.71
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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            Case 19-03137-hb                        Doc 11           Filed 06/28/19 Entered 06/28/19 22:33:20                   Desc Main
                                                                     Document      Page 5 of 29
 Debtor         Jeff Mills & Co., LLC                                                         Case number (If known) 19-03137
                Name




 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used       Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value           debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 2
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            Case 19-03137-hb                        Doc 11           Filed 06/28/19 Entered 06/28/19 22:33:20                  Desc Main
                                                                     Document      Page 6 of 29
 Debtor         Jeff Mills & Co., LLC                                                        Case number (If known) 19-03137
                Name

           shop equipment:
           Wood-Mizer sawmill $ 8,000
           (3-phase electric)
           Hitachi chop saw $ 50
           Dewalt chop saws (2) $ 100
           Porter Cable drill press $ 65
           Delta Unisaw table saw $ 600
           Timesaver wide belt sander (broken) $ 4,000
           Jet wide belt sander $ 1,500
           Forestor 900 Resaw (needs work) $ 4,000
           Delta DJ20 jointer $ 600
           North State band saw $ 800
           Shop Fox shaper $ 400
           Bridgewood shaper $ 850
           Delta line boring machine $ 400
           Tannewitz table saw $ 750
           18” wood band saw $ 500
           Delta dust collection (5 small) $ 800
           Yale forklift $ 2,000
           Blum hinge machine $ 800
           18” radial arm saw $ 1,500
           Newman jointer $ 2,500
           Vacuum press $ 1,000
           Sprayfine HVLP sprayer $ 175
           Edge sander $ 500
           JLT clamp machine $ 2,200
           Dantherm Filtration $ 3,000
           Miller Syncrowave welder $ 1,000
           Miller 211 welder $ 1,000
           Crouch 52 sander $ 1,200
           Millport drill press $ 800
           Jet metal bandsaw $ 600
           Green cart $ 500
           Ladder $ 40
           Work tables $ 300
           Fans $ 150
           Milwaukee cutoff saw $ 125
           Milwaukee portable band saw $ 200
           Milwaukee side grinder $ 200
           Plasma cutter (needs work) $ 5,000
           Cantilever racks $ 1,000
           Total: $ 49,005
           SMALL TOOLS $ 1,500
           - Bosch jigsaw
           - Skilsaw
           - Routers
           - Clamps
           - Nail guns
           OFFICE $ 1,200
           - Dell monitors
           - Epson printers
           - Canon printer
           - Work desks
           - Chairs                                                                   $51,705.00     Comparable sale                   $51,705.00




 51.       Total of Part 8.                                                                                                         $51,705.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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            Case 19-03137-hb                        Doc 11           Filed 06/28/19 Entered 06/28/19 22:33:20                  Desc Main
                                                                     Document      Page 7 of 29
 Debtor         Jeff Mills & Co., LLC                                                        Case number (If known) 19-03137
                Name


               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                Current value of
                                                                                                                                debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            potential cause of action related to Hampton Hall LLC
            litigation
            (case settled but Debtor has not signed release)                                                                                Unknown
            Nature of claim
            Amount requested                                             $0.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                                  $0.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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            Case 19-03137-hb                        Doc 11           Filed 06/28/19 Entered 06/28/19 22:33:20                  Desc Main
                                                                     Document      Page 8 of 29
 Debtor         Jeff Mills & Co., LLC                                                        Case number (If known) 19-03137
                Name




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 5
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             Case 19-03137-hb                           Doc 11            Filed 06/28/19 Entered 06/28/19 22:33:20                                        Desc Main
                                                                          Document      Page 9 of 29
 Debtor          Jeff Mills & Co., LLC                                                                               Case number (If known) 19-03137
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                   $64.71

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $51,705.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $51,769.71          + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $51,769.71




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 6
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            Case 19-03137-hb                        Doc 11            Filed 06/28/19 Entered 06/28/19 22:33:20                   Desc Main
                                                                     Document      Page 10 of 29
 Fill in this information to identify the case:

 Debtor name         Jeff Mills & Co., LLC

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)         19-03137
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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             Case 19-03137-hb                       Doc 11            Filed 06/28/19 Entered 06/28/19 22:33:20                                Desc Main
                                                                     Document      Page 11 of 29
 Fill in this information to identify the case:

 Debtor name         Jeff Mills & Co., LLC

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)           19-03137
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $9,606.00         $9,606.00
           Georgia Dept of Revenue                                   Check all that apply.
           Compliance Dept                                              Contingent
           P. O. Box 105499                                             Unliquidated
           Atlanta, GA 30348-5499                                       Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     income tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $42,169.00          $42,169.00
           Internal Revenue Service                                  Check all that apply.
           Centralized Insolvency Operations                            Contingent
           PO Box 7346                                                  Unliquidated
           Philadelphia, PA 19101-7346                                  Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     income tax - Tax Year 2017
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 9
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             Case 19-03137-hb                       Doc 11            Filed 06/28/19 Entered 06/28/19 22:33:20                                              Desc Main
                                                                     Document      Page 12 of 29
 Debtor       Jeff Mills & Co., LLC                                                                           Case number (if known)          19-03137
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $14,218.00        $14,218.00
           Internal Revenue Service                                  Check all that apply.
           Centralized Insolvency Operations                            Contingent
           PO Box 7346                                                  Unliquidated
           Philadelphia, PA 19101-7346                                  Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Payroll Tax; 3rd qtr 2018
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $2,752.00    $2,752.00
           SC Dept of Revenue                                        Check all that apply.
           P O Box 2535                                                 Contingent
           Columbia, SC 29202-2535                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     income tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $690.00
           ARC Management Group LLC
           1825 Barrett Lakes Blvd                                                     Contingent
           Ste 505                                                                     Unliquidated
           for Wayne Emergency Group                                                   Disputed
           Kennesaw, GA 30144-7518
                                                                                   Basis for the claim:     Services
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $25,994.02
           Arco Hardware                                                               Contingent
           3711 Community Road                                                         Unliquidated
           Brunswick, GA 31520                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Revolving Credit
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $21,069.00
           Bank of America                                                             Contingent
           P. O. Box 15019                                                             Unliquidated
           Wilmington, DE 19886-5019                                                   Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Revolving Credit
           Last 4 digits of account number      8414
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 2 of 9
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            Case 19-03137-hb                        Doc 11            Filed 06/28/19 Entered 06/28/19 22:33:20                                     Desc Main
                                                                     Document      Page 13 of 29
 Debtor       Jeff Mills & Co., LLC                                                                   Case number (if known)            19-03137
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $19,039.00
          Bank of America                                                       Contingent
          P. O. Box 15019                                                       Unliquidated
          Wilmington, DE 19886-5019                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Revolving Credit
          Last 4 digits of account number       3116
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $20,897.00
          Barclays Card                                                         Contingent
          P O Box 13337                                                         Unliquidated
          Philadelphia, PA 19101-3337                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Revolving Credit
          Last 4 digits of account number       9213
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $478.00
          Beaufort County Treasurer                                             Contingent
          P O Drawer 487                                                        Unliquidated
          Beaufort, SC 29901-0497                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $32,972.00
          Berlin Myers Lumber                                                   Contingent
          P O Box 965                                                           Unliquidated
          Summerville, SC 29483                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Revolving Credit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,510.00
          Blue Tarp                                                             Contingent
          P O Box 17825                                                         Unliquidated
          Portland, ME 04112                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Revolving Credit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,095.00
          Builders Mutual GL Audit                                              Contingent
          P O Box 15005                                                         Unliquidated
          Raleigh, NC 27624-0005                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $49,516.00
          Builders Mutual WC Audit                                              Contingent
          P O Box 15005                                                         Unliquidated
          Raleigh, NC 27624-0005                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 9
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            Case 19-03137-hb                        Doc 11            Filed 06/28/19 Entered 06/28/19 22:33:20                                     Desc Main
                                                                     Document      Page 14 of 29
 Debtor       Jeff Mills & Co., LLC                                                                   Case number (if known)            19-03137
              Name

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $36,610.00
          Capital One                                                           Contingent
          P. O. Box 71083                                                       Unliquidated
          Charlotte, NC 28272                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Revolving Credit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,500.00
          Carolina Coastal Hospital                                             Contingent
          1000 Medical Center Drive                                             Unliquidated
          Hardeeville, SC 29927                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,377.00
          Chase Bank Card                                                       Contingent
          P O Box 15298                                                         Unliquidated
          Wilmington, DE 19850-5298                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Revolving Credit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Choate Construction Co                                                Contingent
          C/O Alan Ross Belcher Jr Esq                                          Unliquidated
          111 Coleman Blvd STE 301
                                                                                Disputed
          Mount Pleasant, SC 29464
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,515.55
          CLP Systems                                                           Contingent
          NCS 729 Miner Rd                                                      Unliquidated
          Cleveland, OH 44143                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,158.00
          Coastal Carolina Medical Center                                       Contingent
          P O Box 163279                                                        Unliquidated
          Columbus, OH 43216-3279                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,939.00
          Contractor Nail & Tool                                                Contingent
          P O Box 633                                                           Unliquidated
          Mount Pleasant, SC 29465-7116                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Revolving Credit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 4 of 9
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            Case 19-03137-hb                        Doc 11            Filed 06/28/19 Entered 06/28/19 22:33:20                                     Desc Main
                                                                     Document      Page 15 of 29
 Debtor       Jeff Mills & Co., LLC                                                                   Case number (if known)            19-03137
              Name

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $33,517.58
          Espy Lumber Co. Inc                                                   Contingent
          3785 Argen Blvd                                                       Unliquidated
          Ridgeland, SC 29936
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Revolving Credit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,140.41
          GA Dept of Labor                                                      Contingent
          PO Box 38486                                                          Unliquidated
          Atlanta, GA 30334-0486                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    notice
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          GA Dept of Revenue                                                    Contingent
          1800 Century Blvd NE Ste 2206                                         Unliquidated
          Bankruptcy Section                                                    Disputed
          Atlanta, GA 30345-3205
                                                                             Basis for the claim:    notice
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $25,909.31
          Grayco                                                                Contingent
          P O Box 1805                                                          Unliquidated
          Bluffton, SC 29910                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Revolving Credit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Hampton Hall LLC                                                      Contingent
          C/O Michael A Scardato Esq                                            Unliquidated
          PO Box 1431                                                           Disputed
          Charleston, SC 29402
                                                                             Basis for the claim:    notice
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $17,577.00
          Harris Ace Hardware                                                   Contingent
          386 W Cherry Street                                                   Unliquidated
          Jesup, GA 31545                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Revolving Credit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,983.59
          Heritage Forest Products                                              Contingent
          PO Box 2460                                                           Unliquidated
          Deland, FL 32721                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 5 of 9
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            Case 19-03137-hb                        Doc 11            Filed 06/28/19 Entered 06/28/19 22:33:20                                     Desc Main
                                                                     Document      Page 16 of 29
 Debtor       Jeff Mills & Co., LLC                                                                   Case number (if known)            19-03137
              Name

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $20,494.04
          Home Depot                                                            Contingent
          PO Box 9001030                                                        Unliquidated
          Louisville, KY 40290                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $20,494.00
          Home Depot Credit Services                                            Contingent
          P O Box 9001030                                                       Unliquidated
          Louisville, KY 40290-1030                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Revolving Credit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $162,494.07
          Howard Lumber                                                         Contingent
          P O Box 726                                                           Unliquidated
          Statesboro, GA 30459
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Revolving Credit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $146,989.00
          Huitzi Carpentry LLC                                                  Contingent
          15 Edisto Court                                                       Unliquidated
          Okatie, SC 29909                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $30,463.83
          Lowes                                                                 Contingent
          Syncrony Bank                                                         Unliquidated
          PO Box 530970                                                         Disputed
          Atlanta, GA 30353
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          LPA Coleman LLC                                                       Contingent
          C/O Alan Ross Belcher Jr Esq                                          Unliquidated
          111 Coleman Blvd STE 301
                                                                                Disputed
          Mount Pleasant, SC 29464
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,516.00
          NCS                                                                   Contingent
          for CLP Systems                                                       Unliquidated
          729 Miner Road                                                        Disputed
          Cleveland, OH 44143
                                                                             Basis for the claim:    Revolving Credit
          Date(s) debt was incurred
          Last 4 digits of account number       5210                         Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 6 of 9
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            Case 19-03137-hb                        Doc 11            Filed 06/28/19 Entered 06/28/19 22:33:20                                     Desc Main
                                                                     Document      Page 17 of 29
 Debtor       Jeff Mills & Co., LLC                                                                   Case number (if known)            19-03137
              Name

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $24,563.00
          RED                                                                   Contingent
          8200 Roberts Drive                                                    Unliquidated
          Ste 600                                                               Disputed
          Atlanta, GA 30350
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $690.00
          Schumacher Clinical Partners                                          Contingent
          P O Box 731584                                                        Unliquidated
          Dallas, TX 75373-1584                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,620.00
          South State Bank                                                      Contingent
          P O Box 118068                                                        Unliquidated
          Charleston, SC 29423                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    secured by 2011 Audi Q5 ownd by LLC members
          Last 4 digits of account number       9338
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $230,281.00
          South State Bank                                                      Contingent
          P O Box 118068                                                        Unliquidated
          Charleston, SC 29423                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    secured by real estate owned by LLC members
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $17,733.00
          South State Bank                                                      Contingent
          P O Box 118068                                                        Unliquidated
          Charleston, SC 29423                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Revolving Credit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,268.00
          Southern Carlson                                                      Contingent
          c/o Jeffrey M Quinn, Esq                                              Unliquidated
          P O Box 596                                                           Disputed
          Drexel Hill, PA 19026
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $30,437.00
          Synchrony Bank                                                        Contingent
          for Lowe's                                                            Unliquidated
          P. O. Box 530914                                                      Disputed
          Atlanta, GA 30353
                                                                             Basis for the claim:    Revolving Credit
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 7 of 9
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             Case 19-03137-hb                       Doc 11            Filed 06/28/19 Entered 06/28/19 22:33:20                                     Desc Main
                                                                     Document      Page 18 of 29
 Debtor       Jeff Mills & Co., LLC                                                                   Case number (if known)            19-03137
              Name

 3.39      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $14,099.00
           Target Card Services                                                 Contingent
           P O Box 660170                                                       Unliquidated
           Dallas, TX 75266-0170                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Revolving Credit
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.40      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $21,318.00
           Tim's Crane
           c/o Tom Speer                                                        Contingent
           C2C Resources                                                        Unliquidated
           56 Perimeter Center E, Ste 100                                       Disputed
           Atlanta, GA 30346
                                                                             Basis for the claim:    Services
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?      No       Yes


 3.41      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $32,971.49
           Venture Inc of Beaufort                                              Contingent
           C/O Denson H. Fraser Jr Esq                                          Unliquidated
           PO Box 22512
                                                                                Disputed
           Hilton Head Island, SC 29925
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?      No       Yes

 3.42      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $690.00
           Wayne Emergency Group                                                Contingent
           1825 Barrett Lakes Blvd                                              Unliquidated
           STE 505                                                              Disputed
           Kennesaw, GA 30144
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?      No       Yes


 3.43      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $40,957.00
           Wells Fargo Credit Line                                              Contingent
           P O Box 29482                                                        Unliquidated
           Phoenix, AZ 85038-8650                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Revolving Credit
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1       Choate Construction Co
           C/O Danielle F. Payne Esq                                                                  Line     3.14
           735 Johnnie Dobbs Blvd STE 200
                                                                                                             Not listed. Explain
           Mount Pleasant, SC 29464

 4.2       E.K. Haight, Jr. Esp
           P O Drawer 6067                                                                            Line     3.18
           Hilton Head Island, SC 29938
                                                                                                             Not listed. Explain




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 8 of 9
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             Case 19-03137-hb                       Doc 11            Filed 06/28/19 Entered 06/28/19 22:33:20                                Desc Main
                                                                     Document      Page 19 of 29
 Debtor       Jeff Mills & Co., LLC                                                               Case number (if known)          19-03137
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any
 4.3       Georgia Dept of Labor
           148 Andrew Young International Blvd, NE                                               Line     3.19
           Atlanta, GA 30303
                                                                                                        Not listed. Explain

 4.4       South State Bank Credit Services
           P O Box 108                                                                           Line     3.36
           Saint Louis, MO 63166-0108
                                                                                                        Not listed. Explain

 4.5       Steven Smith Esq
           P O Box 40578                                                                         Line     3.27
           Charleston, SC 29423
                                                                                                        Not listed. Explain

 4.6       Venture Inc of Beaufort
           10 Sam's Point Rd                                                                     Line     3.41
           Ladys Island, SC 29907
                                                                                                        Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                     68,745.00
 5b. Total claims from Part 2                                                                       5b.    +     $                  1,157,565.89

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                    1,226,310.89




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 9 of 9
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            Case 19-03137-hb                        Doc 11            Filed 06/28/19 Entered 06/28/19 22:33:20                     Desc Main
                                                                     Document      Page 20 of 29
 Fill in this information to identify the case:

 Debtor name         Jeff Mills & Co., LLC

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)         19-03137
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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            Case 19-03137-hb                        Doc 11            Filed 06/28/19 Entered 06/28/19 22:33:20                 Desc Main
                                                                     Document      Page 21 of 29
 Fill in this information to identify the case:

 Debtor name         Jeff Mills & Co., LLC

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)         19-03137
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                       Name                        Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code




Official Form 206H                                                               Schedule H: Your Codebtors                                   Page 1 of 1
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            Case 19-03137-hb                        Doc 11            Filed 06/28/19 Entered 06/28/19 22:33:20                            Desc Main
                                                                     Document      Page 22 of 29


 Fill in this information to identify the case:

 Debtor name         Jeff Mills & Co., LLC

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)         19-03137
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                  Unknown
       From 1/01/2019 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                                  Unknown
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $1,567,296.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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              Case 19-03137-hb                      Doc 11            Filed 06/28/19 Entered 06/28/19 22:33:20                               Desc Main
                                                                     Document      Page 23 of 29
 Debtor       Jeff Mills & Co., LLC                                                                     Case number (if known) 19-03137



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
    may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Hampton Hall LLC v Chapman                        construction/bond          US District Court                            Pending
               Coyle et al                                                                  Columbia, SC 29201                           On appeal
               9:17-CV-1575-RMG
                                                                                                                                         Concluded

       7.2.    Espy Lumber Co. Inc v Jenna                       collection                 Beaufort County Common                       Pending
               Mills & Jeff Mills & Co LLC                                                  Pleas                                        On appeal
               19CP07-00367
                                                                                                                                         Concluded

       7.3.    Venture Inc v. Jeanna Mills &                     collection                 Beaufort Common Pleas                        Pending
               Jeff Mills & Co LLC                                                                                                       On appeal
               19CP07-00952
                                                                                                                                         Concluded

       7.4.    Howard lumber v Jeanna                            collection                 Charleston County                            Pending
               Mills & Jeff Mills & Co LLC                                                  Common Pleas                                 On appeal
               18CP10-04485
                                                                                                                                         Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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            Case 19-03137-hb                        Doc 11            Filed 06/28/19 Entered 06/28/19 22:33:20                                Desc Main
                                                                     Document      Page 24 of 29
 Debtor      Jeff Mills & Co., LLC                                                                          Case number (if known) 19-03137




9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                Dates given                         Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss          Value of property
       how the loss occurred                                                                                                                                  lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates              Total amount or
                the transfer?                                                                                                                              value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers           Total amount or
                                                                                                                        were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                   Date transfer           Total amount or
               Address                                           payments received or debts paid in exchange              was made                         value
       13.1 Steve & Johnnie Dagenhut
       .    Lot 2 Gaston Park
               Chester, SC 29706                                 Lot 2 Gaston Park, Chester SC 29706                      06/22/18                    $90,983.80

               Relationship to debtor
               none


 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
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             Case 19-03137-hb                       Doc 11            Filed 06/28/19 Entered 06/28/19 22:33:20                            Desc Main
                                                                     Document      Page 25 of 29
 Debtor      Jeff Mills & Co., LLC                                                                      Case number (if known) 19-03137




           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                        Names of anyone with                Description of the contents            Do you still
                                                                      access to it                                                               have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
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            Case 19-03137-hb                        Doc 11            Filed 06/28/19 Entered 06/28/19 22:33:20                                Desc Main
                                                                     Document      Page 26 of 29
 Debtor      Jeff Mills & Co., LLC                                                                      Case number (if known) 19-03137




          None

       Facility name and address                                      Names of anyone with                Description of the contents                   Do you still
                                                                      access to it                                                                      have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 5
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            Case 19-03137-hb                        Doc 11            Filed 06/28/19 Entered 06/28/19 22:33:20                                Desc Main
                                                                     Document      Page 27 of 29
 Debtor      Jeff Mills & Co., LLC                                                                      Case number (if known) 19-03137



    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Silverwood Lumber LLC                                                                             EIN:
             2652 Starnes Road
             Edgemoor, SC 29712                                                                                From-To



26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
            None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Bernard N Ackerman CPA PC                                                                                                  to present
                    596 Herrons Ferry Rd
                    5th Floor
                    Rock Hill, SC 29730

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory         The dollar amount and basis (cost, market,
                inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       Jeff Mills                                     2652 Starnes Road                                   member                                        50
                                                      Edgemoor, SC 29712

       Name                                           Address                                             Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       Jeanna Mills                                   2652 Starnes Road                                   member                                        50
                                                      Edgemoor, SC 29712



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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            Case 19-03137-hb                        Doc 11            Filed 06/28/19 Entered 06/28/19 22:33:20                            Desc Main
                                                                     Document      Page 28 of 29
 Debtor      Jeff Mills & Co., LLC                                                                      Case number (if known) 19-03137



    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Jeanna Mills
       .    2652 Starnes Road                                                                                            last 12
               Edgemoor, SC 29712                                to be provided                                          months            services provided

               Relationship to debtor
               member


       30.2 Jeff Mills
       .    2652 Starnes Road                                                                                            last 12
               Edgemoor, SC 29712                                to be provided                                          months            services rendered

               Relationship to debtor
               member


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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            Case 19-03137-hb                        Doc 11            Filed 06/28/19 Entered 06/28/19 22:33:20                            Desc Main
                                                                     Document      Page 29 of 29
 Debtor      Jeff Mills & Co., LLC                                                                      Case number (if known) 19-03137




 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         June 28, 2019

 /s/ Jeanna M. Mills                                                    Jeanna M. Mills
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 8
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